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                    UNITED STATES DISTRICT COURT
                   MIDDLE DISTRICT OF PENNSYLVANIA

JAMES A. CARSON, JR.,                          :
              Plaintiff,                       :      No. 1:17-cv-01263-YK
                                               :
                    v.                         :
                                               :      CIVIL ACTION
DETECTIVE JESSICA M. AURAND,                   :
in her Individual Capacity, et al.             :
                   Defendant.                  :      JURY TRIAL DEMANDED
                                               :

        DEFENDANT DETECTIVE JESSICA M. AURAND’S
      UNOPPOSED MOTION FOR LEAVE OF COURT TO FILE
    DOCUMENTS UNDER SEAL PURSUANT TO FED.R.CIV.P. 5.2(d)

      Defendant, Detective Jessica M. Aurand (hereinafter “Detective Aurand”),

by and through her attorneys, Siana, Bellwoar & McAndrew, LLP, files this

Unopposed Motion for Leave of Court to File Documents Under Seal Pursuant to

Fed.R.Civ.P. 5.2(d), and in support thereof avers as follows:

      1.      Plaintiff, James A. Carson, Jr., (“Plaintiff”), initiated suit on July 18,

2017, against Detective Aurand and her employer, the Mifflin County Regional

Police Department (“MCRPD”) alleging various civil rights violations. (ECF 1,

Complaint).

      2.      On January 2, 2018, the Plaintiff and Detective Aurand, through their

respective counsel executed a Confidentiality Agreement, whereby the Parties

sought to limit the production of certain sensitive documents and material marked

“CONFIDENTIAL” by any party producing the same through the course of
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discovery. (A true and correct copy of the Confidentiality Agreement is attached

hereto as Exhibit A).

      3.      The Confidentiality Agreement protects against disclosure of

“Confidential Material” as defined by Paragraph 1. (Ex. A).

      4.      According to Paragraph 1, “Confidential Material” is defined as

              Social Security or taxpayer-identification numbers; dates
              of birth; names of minor children; financial account
              numbers; home addresses; personal telephone numbers;
              personal e-mail addresses; sensitive information
              involving personal financial, medical, matrimonial, or
              family matters; personnel files; video of minor’s
              interview; mental health records and/or other private
              health records protected by HIPAA in the possession of
              the parties and/or received from third-parties in response
              to any subpoena; any and all records related to the
              subject minor.

(Ex. A).

      5.      Through the course of discovery and/or in response to subpoena,

public and private agencies/entities produced certain materials which have been

designated “CONFIDENTIAL” or which constitute “Confidential Information”

under the terms of the Confidentiality Agreement.

      6.      Paragraph 3 of the Confidentiality Agreement, states in relevant part

that Confidential Information shall be treated as confidential and no Confidential

Information may be revealed, disclosed or described, in whole or in part, unless

permitted by order of the Court upon application or motion. (Ex. A).


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      7.      On or before June 18, 2018, Detective Aurand intends to seek

summary judgment as to all claims asserted against her pursuant to Rule 56 of the

Federal Rules Civil Procedure consistent with the Court’s Case Management

Order. (ECF 23, Order).

      8.      In order to adequately seek summary judgment, Detective Aurand

must attach as exhibits certain Confidential Information produced by public and

private agencies/entities during the course of discovery and/or in response to

subpoena.

      9.      These exhibits contain privileged and sensitive information, including

sensitive medical information of minor, S.W. or Plaintiff, James Carson, Jr.,

identifying information of Plaintiff, and of third parties not participating in this

lawsuit.

      10.     Redaction of the personal data identifiers from the documents as

required by Local Rule 5.2(d) alone will not adequately protect the confidentiality

of the minor or Plaintiff as the documents pertain to the culmination of a suspected

child abuse investigation, which forms the basis of Plaintiff’s claim against

Detective Aurand.

      11.     Federal Rule of Civil Procedure 56(d) permits the Court to enter an

order that a filing, or parts of a filing, be made under seal. Fed.R.Civ.P. 56(d).

      12.     Pursuant to Local Rule of Civil Procedure 5.8, a party seeking to file


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any document under seal must obtain prior leave of Court by filing a motion for

leave to file under seal. See L.R. 5.8.

       13.    Accordingly, Detective Aurand respectfully seeks an Order permitting

her to file documents described as Confidential Information under seal.

       14.    Although it is well-settled among courts within the Third Circuit that

there exists a common law right to public access to judicial proceedings and

records, courts also have recognized the principle that the “right is not absolute.”

See, e.g., Littlejohn v. BIC Corp., 851 F.2d 673, 678 (3d Cir. 1998) (quoting Nixon

v. Warner Communications, Inc., 435 U.S. 589 (1978)); Leucida, Inc. v. Applied

Extrusion Technologies, Inc., 998 F.2d 157, 165 (3d Cir. 1993); Publicker Indus.,

Inc. v. Cohen, 733 F.2d 1059, 1071 (3d Cir. 1984).

       15.    If, at any stage of the litigation a party seeks to file a document or

motion under seal, it must apply to the court for an order of confidentiality. See

generally Pansy v. Borough of Stroudsburg, 23 F.3d 772, 785-87 (3d Cir. 1994).

       16.    Filing Confidential Information under seal will not prejudice any

party and will protect the confidentiality of third parties, the minor’s interests,

Plaintiff’s confidentiality, and the interests of justice in this case.

       17.    The undersigned counsel has conferred with Plaintiff’s counsel

regarding the necessity to file documents described as Confidential Information

under seal and Plaintiff’s counsel does not oppose the relief request in the instant


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Motion.

      WHEREFORE, Detective Aurand respectfully requests that this Honorable

Court grant her Unopposed Motion for Leave of Court to File Documents Under

Seal, and enter an Order, in the form of the attached Proposed Order.

                                Respectfully Submitted,

                                SIANA, BELLWOAR & McANDREW, LLP

                         By:    /s/ Sheryl L. Brown
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                                              :

                          CERTIFICATE OF SERVICE

      The undersigned counsel hereby certifies that on this day a true and correct

copy of the Unopposed Motion for Leave of Court to File Documents Under Seal

Pursuant to Fed.R.Civ.P. 5.2(d), and supporting Brief, on behalf of Defendant,

Detective Jessica M. Aurand, were served via electronic filing as indicated:

        Matthew B. Weisberg, Esq                      Gary Schafkopf, Esq
            Weisberg Law                              Schafkopf Law, LLC
        7 South Morton Avenue                            11 Bala Avenue
           Morton, PA 19070                          Bala Cynwyd, PA 19004
                (ECF)                                        (ECF)

                                SIANA, BELLWOAR & McANDREW, LLP

                          By:   /s/ Sheryl L. Brown
                                Sheryl L. Brown, Esquire, I.D. #59313
                                Christine D. Steere, Esquire, I.D. #84066
Dated: June 13, 2018            Attorneys for Detective Jessica M. Aurand
